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                                                                   ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT                                       DOC#:
SOUTHERN DISTRICT OF NEW YORK                                      DATE FILED: 11/05/2020


 UNITED STATES OF AMERICA,
                                                               No. 17-CR-618-10 (RA)
                        v.
                                                                       ORDER
 ESTEBAN AYALA,

                             Defendant.


RONNIE ABRAMS, United States District Judge:

       On June 26, 2020, the Court received Defendant Esteban Ayala’s pro se letter,

requesting that the Court “‘[m]odify [his] sentencing in such a manner that would allow

[him] to serve the remainder of [his] sentence on home confinement,” and issued an order

construing that letter as a motion for a sentence reduction pursuant to 18 U.S.C.

§ 3582(c)(1)(A), seeking compassionate release in light of COVID-19. Dkt. 304. On

September 16, 2020, the Court received a letter from Mr. Ayala, dated August 26, 2020,

which stated that he was to be released to the Bronx Halfway House on September 2, 2020,

and expressed that “[t]o invest time and energy going back and forth with word semantics

is counter productive to [his] getting ready to be a productive citizen.”

       On September 18, 2020, the Court issued an order directing Mr. Ayala to advise

the Court if he wishes to continue to pursue this motion, given his transfer to a residential

reentry center. The Court did not receive any response to that order. On October 21, 2020,

the Court issued an additional order indicating that the Court would consider the failure to
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respond by November 4, 2020 as a withdrawal of Mr. Ayala’s motion. To date, Mr. Ayala

has not submitted any response.

         In light of the representations made in his August 26 letter, Mr. Ayala’s failure to

respond to the Court’s orders constitutes a withdrawal of his motion for sentence reduction.

It is hereby ORDERED that Mr. Ayala’s motion is dismissed, albeit without prejudice.

The Clerk of Court is respectfully directed to terminate item 307 on the docket.

         The Government is respectfully directed to promptly serve a copy of this Order on

Mr. Ayala and file proof of such service on the docket.



SO ORDERED.

Dated:      November 5, 2020
            New York, New York

                                                   Ronnie Abrams
                                                   United States District Judge




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